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Michael. Krouse@arnoldporter.com

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June 3, 2024

BY ECF AND ELECTRONIC MAIL

Honorable Richard M. Berman SO ORDERED:

United States District Court Date: ul yf2 Y k clawed Al . Saveranes
Southern District of New York a Berman, U.S.D.J.
500 Pearl Street a .

New York, NY 10007

Re: United States v. Keonne Rodriguez, 24 Cr. 82 (RMB)
Dear Judge Berman:

We write on behalf of Keonne Rodriguez, the defendant in the above-referenced
matter. Mr. Rodriguez’s bail conditions currently require home incarceration. Having
conferred with the Government and Pretrial Services, we respectfully request that this
requirement be modified to home detention under the supervision of Pretrial Services.
We also propose that the home be defined to include the curtilage, so that Mr. Rodriguez
can go outside to his front porch, front yard, and fenced-in back yard without having to
obtain advance permission. The Government and Pretrial Services both consent to this
proposal.

Respectfully submitted,

/s/ Michael Kim Krouse
Michael Kim Krouse

ce: AUSA Andrew Chan
AUSA David Felton

Arnold & Porter Kaye Schoier LLP
250 West 55th Street | New York, NY 10019-9710 | www.arnoldporter.com

